Case 4:09-cr-00043-SPF Document 49-1 Filed in USDC ND/OK on 05/08/09 Page 1 of 4

Hall, Kathie (USAOKN)

From: Lindsey Springer [indsey@mindspring.com]
Sent: Tuesday, May 05, 2009 7:07 PM

To: Hall, Kathie (USAOKN)

Subject: Re: Joint Motion to Cointinue Hearing Date
Attachments: ole1.bmp

Ms. Hall, | have no opposition to this Motion. Thank you, Lindsey Springer
---- ses lehman ——

SRPICAY wg ery

fron =| Pe ieprne com
Sent: Tuesday, May 05, 2009 4:54 PM

Subject: Joint Motion to Cointinue Hearing Date

Mr. Springer

Here is a copy of the revised motion incorporating your agreement that a
date after July 9, 2009, would be agreeable for the hearing, if necessary.
Please let us know if this is still okay.

Oscar Stilley indicated agreement, but did not want to be a joint movant,
so we revised the motion.

<<Springer et al Joint Motion to Continue Hearing Date. WPD>>

Kathie M. Hall, ACP

Legal Assistant, Criminal Division

UNITED STATES ATTORNEY'S OFFICE

110 West Seventh Street, Suite 300

Tulsa, Oklahoma 74119

918.382.2700 X3338

918.560.7954 Fax

1 ATTACHMENT
Case 4:09-cr-00043-SPF Document 49-1 Filed in USDC ND/OK on 05/08/09 Page 2 of 4

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Hall, Kathie (USAOKN)

From: Oscar Stilley [oscar@oscarstilley.com]
Sent: Thursday, May 07, 2008 2:04 PM

To: Hall, Kathie (USAOKN)

Ce: Lindsey Springer

Subject: RE: Joint Motion to Continue Hearing Date
Attachments: image001 .png

No objection, thank you.
Oscar

Oscar Stilley, Attorney at Law’
7103 Race Track Loop

Fort Smith, AR 72916

(479) 996.4109 phone

(479) 996.3409 fax
oscar@oscarstilley.com
www.oscarstilley.com

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originals and copies of this message. Receipt by anyone other than the intended recipient is not a waiver of any attorney-
client or work product privilege. Footnote 1: [Suspended from Arkansas courts pending disbarment, principally for the
alleged offense of criticizing the government. Suspended in some but not all other jurisdictions to which Attorney is
admitted. Ask for details, it's complicated. ]

From: Hall, Kathie (USAOKN) [mailto:Kathie. Hall@usdoj.gov]
Sent: Tuesday, May 05, 2009 4:57 PM

To: Oscar Stilley

Subject: Joint Motion to Continue Hearing Date

Mr. Stilley

Per your May 1, 2009, e-mail here is the revised Motion made only by the
Government. Please let us know if this is acceptable.

<<Springer et al Joint Motion to Continue Hearing Date. WPD>>

Kathie M. #tall, ACP

Legal Assistant, Criminal Division

UNITED STATES ATTORNEY'S OFFICE
Case 4:09-cr-00043-SPF Document 49-1 Filed in USDC ND/OK on 05/08/09 Page 4 of 4
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